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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


Interface IP Holdings LLC,

                    Plaintiff,

       v.                                           C.A. No. 15-00304 (TBD)

Fareportal, Inc.,

                    Defendant.                       JURY TRIAL DEMANDED


                         STIPULATION AND ORDER TO EXTEND TIME

        IT IS HEREBY STIPULATED AND AGREED, by and between the parties, through

their respective counsel and subject to the approval of the Court, that the time within which

Defendant Fareportal, Inc. shall respond to the Complaint for Patent Infringement is extended

from the current deadline of May 4, 2015 until and including June 3, 2015.

Dated: April 24, 2015

/s/ Brian E. Farnan                              /s/ Jeremy D. Anderson
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Attorney for Plaintiff


    SO ORDERED this                   day of _______________, 2015.



                                             United States District Court Judge
